Case 4:05-cv-00329-GKF-SH Document 3038 Filed in USDC ND/OK on 09/13/24 Page 1 of 1


                                UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OKLAHOMA


 State of Oklahoma, et al.,
                                                              Case No.:   05-CV-329-GKF-SH
                                           Plaintiffs,
 vs.                                                          Proceeding: Status/Scheduling Conference
                                                              Date:       9/13/2024
                                                              Time:       1:31 p.m. to 2:08 p.m.
  Tyson Foods, et al.,                                                    2:26 p.m. to 2:35 p.m.
                                                              MINUTE SHEET
                                       Defendants.

Gregory K. Frizzell, U.S. District Judge      K. Perkins, Deputy Clerk            Brian Neil, Reporter

Counsel for Plaintiffs: Gentner Drummond, Jennifer Lewis, Ed Fite, David Riggs, Kristopher Koepsel,
                        Frederick Baker. Cherokee Nation Attorney General, Chad Harsha
Counsel for             Gordon Todd, Mark Hopson, Robert George, K.C. Tucker, John Elrod, Robert
Defendant(s):           Redemann, John Tucker, Colin Tucker, Scott McDaniel

Minutes: Case called for status/scheduling conference with counsel and parties present as stated into the
record. Court stated its proposal to afford the parties the opportunity to present new evidence December
3–6 and if necessary, December 16–20. Counsel was heard and given the opportunity to confer.
Thereafter, this matter is set for evidentiary hearing to begin on Tuesday, December 3, 2024 at 9:00 a.m.
Exchange of Expert Reports; as well as Identification of any non-expert witnesses, together with a
summary of each witnesses’ expected testimony, to be filed and exchanged by Monday, November 18,
2024.




  Minute Sheet Miscellaneous                         Page 1                            (CV-01 Modified 6/2020)
